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  ____________________________________________
                          In the
              United States Court of Appeals
                 For the Second Circuit
                                  †
                            Amy Cooper,
                          Plaintiff–Appellant

                                  v.

Franklin Templeton Investments, Franklin Resources, Inc., Jenny Johnson,
        Franklin Templeton Companies, LLC, Franklin Templeton,
                         Defendants–Appellees

     Franklin Templeton Corps. XYZ 110, John Does, Jane Does 1-10,
                              Defendants

     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK




     BRIEF FOR PLAINTIFF-APPELLANT



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                 JURISDICTIONAL STATEMENT

   This is an appeal from a Decision and Order, entered September 21,

2022, of the United States District Court for the Southern District of

New York (Hon. Ronnie Abrams, D.J.), in a lawsuit brought under §

1981 (in addition to the New York State Human Rights Law, New York

City Human Rights Law, and New York State Common Law), granting

the Defendants’ Motion to Dismiss on all counts. The District Court had

jurisdiction over this action pursuant to 28 U.S.C. § 1331 and pursuant

to the principles of supplemental jurisdiction under 28 U.S.C. § 1367

because at least one the Plaintiff’s claims arose under the laws of the

United States. The Notice of Appeal was filed on October 21, 2022. APP.

68. This Court has jurisdiction over this appeal pursuant to 28 U.S.C. §

1291, because this is an appeal from a final decision of the District

Court.




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                      QUESTIONS PRESENTED

   1.      Whether the District Court erred by excluding Defendants’

May 25, 2020 published statement announcing Defendants to be “in the

process   of   investigating   the   situation”    from   the   context   and

circumstances in which it analyzed the Defendants’ subsequent

published statements.

   2.      Whether the District Court erred in holding that the

Defendants’ published statements were unactionable pure opinion,

rather than actionable mixed opinion.

   3.      Whether the District Court erred in holding that it was

implausible that a reasonable reader or listener could understand the

Defendants’ statements to imply that Defendants possessed facts

undisclosed or unknown to the reader or listener.

   4.      Whether the District Court erred in holding as a matter of law

that a reasonable reader would understand the Defendants’ statements

to be founded exclusively on widely disseminated facts in the public

domain.




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    5.       Whether the District Court erred in holding that the Plaintiff

failed to plausibly plead that the assertions contained in the Defendants’

published statements were substantially untrue.

    6.        Whether the District Court erred by considering evidence in

support of the Defendants’ Motion to Dismiss without a sworn statement

from a person with personal knowledge or any other evidence as to

whether, and if so how, such evidence was utilized by the Defendants in

their decision to terminate the Plaintiff and published statements

regarding Ms. Cooper.

    7.       Whether the District Court erred in holding that the

Defendants’ public statements did not implicate the Plaintiff’s race.

    8.       Whether the District Court erred in holding that the

Plaintiff’s Complaint failed to allege facts plausible to determine that the

Plaintiff was similarly situated to her comparators in all material

respects.

    9.       Whether the District Court erred in holding that the Plaintiff

did not allege facts plausible to determine that the Plaintiff’s

comparators had engaged in comparable conduct to the Plaintiff.




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   10.     Whether the District Court erred in holding that the Plaintiff

failed to plead facts plausible to give rise to a “minimal inference of

discriminatory motivation,” and dismissing her claims under Section

1981 and the New York State Human Rights Law.

   11.     Whether the District Court erred in holding that the Plaintiff

failed to plead facts plausible to show she was treated “less well,” and

dismissing her claims under the reduced New York City Human Rights

Law standard.




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                     STATEMENT OF THE CASE

                                      A.

        Preliminary Statement and Summary of Argument

    The events in Central Park underlying this litigation did not occur

because the Plaintiff Amy Cooper (“Plaintiff” or “Ms. Cooper”) is a racist

-- they occurred because she was alone, cornered, and quite intentionally

made to feel frightened for her personal safety. The confrontation

occurred not because of race, but because of an ongoing feud between

bird watchers and dog owners. It was only the proliferation of false and

incomplete information that converted this into a racial flashpoint

resulting in the utter destruction of Ms. Cooper’s life.

    As Ms. Cooper’s employer, the Defendants are held by Federal,

State, and City law to a different standard than social media and the

public-at-large. Defendants may not proliferate false and incomplete

information about their employee with impunity. Not only are

Defendants held to a higher standard under law, as Ms. Cooper’s

employer the Defendants are known by the public to be subject to a

different standard, and thereby are understood to be speaking from a

position of legitimacy and authority.


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   The Defendants made public pronouncements that: a) Defendants

were “in the process of investigating (Ms. Cooper’s) situation,” b)

Defendants conducted an “internal review,” c) “the facts were

undisputed in (Ms. Cooper’s) case,” and d) Defendants “feel confident in

the due diligence (they) did” with regard to Ms. Cooper. The Defendants

announcements conveyed to the public that the result of their work was

to determine that Ms. Cooper was a racist, and therefore was terminated

from employment with Franklin Templeton.

   But the Defendants performed no investigation, they conducted no

internal review, they held no undisputed facts, and endeavored no due

diligence. They never made any determination that Ms. Cooper was a

racist. Their implication that they did these things and therefore

obtained information which the public did not have converted their

statements to textbook actionable mixed opinion. “Where the author of

a derogatory statement of opinion implies that it is based on facts not

disclosed to his audience, a claim for defamation may be premised on

this implied factual assertion.” Chiavarelli v. Williams, 681 N.Y.S.2d

276, 277 (1st Dep’t 1998).




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    Defendants had two options to maintain a pure, nonactionable

opinion. Defendants could have told its readers and listeners what

evidence their conclusion about Ms. Cooper was based on, or it could

have not implied that it obtained or held superior information. But

Defendants did neither of these things, opting instead to convey to the

world that they had investigated, reviewed, performed due diligence,

and held undisputed facts when they knew they did not.

    The District Court erred in ruling that the reasonable reader or

listener could not as a matter of law understand the Defendants’

multiple statements about Ms. Cooper to imply that Defendants held

superior facts to the general public. “[T]he court should look to the over-

all context in which the assertions were made and determine on that

basis ‘whether the reasonable reader would have believed that the

challenged statements were conveying facts about the libel plaintiff.’”

Brian v. Richardson, 87 N.Y. 2d 46, 51 (1995) quoting Immuno AG v.

Moor-Jankowski, 77 N.Y.2d 235, 254 (1991). Especially at the Motion to

Dismiss stage, there simply is no way for the reasonable person to read

or hear the Defendants’ statements without understanding them to

mean that Ms. Cooper’s employer performed a thorough investigation,


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internal review, and due diligence, and that the result of their diligence

was the possession of facts which the public did not have.

    Defendants’ Motion to Dismiss did not present even a single piece of

evidence demonstrating an investigation, internal review, undisputed

facts, or due diligence. It was plain error for the District Court to grant

the Defendants’ Motion to Dismiss without any evidence that any

manner of investigation, internal review, or due diligence was ever

performed. Without such evidence, their statements that such work was

done and implications that this work led to the conclusion that Ms.

Cooper was racist and had to be terminated from employment are clear

mixed opinion defamation. That the Defendants’ Exhibits contained

nothing but publicly available documents pulled from an internet search

seventeen months after her termination is not merely insufficient to

support a Motion to Dismiss, but is dispositive of actual malice and the

knowing falsity of their statements.

    The Plaintiff’s Amended Complaint contains 139 paragraphs of

substantive and specific Factual Background containing allegations

that far exceed the threshold required to overcome a Rule 12(b)(6)

motion to dismiss. The Defendants’ multiple explicit references to race


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and racism in conjunction with their public celebrations of Plaintiff’s

termination fatally undermine the credibility of their refrain that race

played no role in their decision.

    Moreover, there remains no legitimate explanation for why Ms.

Cooper was treated so disparately from her male comparators, and no

explanation for why Defendants relied entirely on social media to

determine her discipline when it avowed it would not do so for the

personnel decisions of co-workers.

                                     B.

             Statement of Undisputed Material Facts

    The Plaintiff was confronted in Central Park by Christian Cooper

(no relation to the Plaintiff) while walking her dog alone on May 25,

2020. This confrontation ultimately became international news as a

racial flashpoint, characterized as a privileged white female “Karen”

caught on video verbally abusing an African American male with no

possible reason other than the color of his skin. APP. 11 (Compl. ¶1).

     This characterization was nurtured and exacerbated by the public

statements published by the Defendants to millions of people implying

that it had performed a legitimate investigation into its employee and


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the events of May 25, 2020, that a legitimate investigation determined

indisputably that Plaintiff was a racist, and that due to the results of

their legitimate investigation, the Plaintiff’s employment with the

Defendants was terminated. APP. 11-12 (Compl. ¶2). The Defendants’

alleged investigation and results provided legitimacy to the “Karen”

story, and provided justification for those seeking the destruction of the

Plaintiff’s life. APP. 12 (Compl. ¶3). The Defendants never performed

any investigation into the confrontation between Plaintiff and Mr.

Cooper in Central Park on May 25, 2020, and knew they never

performed an investigation; if they had, it would have shown that the

Plaintiff did not shout at Mr. Cooper or call the police because she was

a racist. See APP. 12 (Compl. ¶4).

     Rather, the Plaintiff did these things because she was alone in the

park and frightened to death after being selected as the next target of

Mr. Cooper, an overzealous birdwatcher engaged in Central Park’s

escalating feud between birdwatchers and dog owners. See APP. 12

(Compl. ¶5).

   Mr. Cooper was a birdwatcher with a history of aggressively

confronting dog owners in Central Park who walked their dogs without


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a leash. See APP. 12 (Compl. ¶6). It was Mr. Cooper’s practice and intent

to cause dog owners to be fearful for their safety and the safety of their

dogs, and he had a history of doing so to people, including to at least one

African American man who wrote national media stating: “when I saw

that video, I thought, I cannot imagine if he approached [Amy] the same

way, how she may have genuinely been afraid for her life.” See APP. 12,

20-22 (Compl. ¶¶6, 52-64).

     But the Defendants nevertheless perpetuated and legitimized the

story of “Karen” vs. an innocent African American, with reckless

disregard for the falsity of their statements or the destruction of

Plaintiff’s life in the process. See APP. 13 (Compl. ¶7).

     On the date of the incident, the Defendants published a statement

on Twitter about the Central Park incident stating:


           We take these matters very seriously, and we do
           not condone racism of any kind. While we are in
           the process of investigating the situation, the
           employee involved has been put on administrative
           leave. (Emphasis added). APP. 13 (Compl. ¶8).


     On the following day, the Defendants published a second

statement on Twitter, now announcing:


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           Following our internal review of the incident in
           Central Park yesterday, we have made the
           decision to terminate the employee involved,
           effective immediately. We do not tolerate racism of
           any kind at Franklin Templeton. (Emphasis
           added). APP. 13 (Compl. ¶9).


     The May 26, 2020 statement on Twitter was “liked” by over

277,000 people, and seen by countless more. There can be no question

that the public to whom Defendants published the May 26, 2020

statement knew and understood that the subject of Defendants’

statement, “the employee involved,” was Plaintiff, and that this

statement was interpreted to mean an investigation was conducted by

Defendants and determined the Plaintiff to be a racist. APP. 13-14

(Compl. ¶¶10-14).

   The following week on June 2, 2020, the President and CEO of

Franklin Templeton, Jenny Johnson, continued by participating in a

video interview carried on Bloomberg.com and answered questions

exclusively about the Defendants’ termination of Plaintiff’s employment.

APP. 14 (Compl. ¶15). During that interview, Ms. Johnson again implied

that the facts of this matter were fully reviewed prior to the Defendants’

decision to terminate Plaintiff’s employment, and that the Defendants

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terminated Plaintiff’s employment because “the facts were undisputed

in this case.” APP. 14-15 (Compl. ¶¶16-20).

     Over a year later on July 15, 2021, Ms. Johnson participated in a

Yahoo! Finance video interview and answered questions about the

Defendants’ termination of the Plaintiff’s employment. APP. 15 (Compl.

¶26). During that interview, Ms. Johnson contrasted that situation to a

second, more recent situation involving a Franklin Templeton employee.

APP. 15-16 (Compl. ¶¶27-28). It is believed that the second situation

involving a Franklin Templeton employee to which Ms. Johnson referred

was Vivek Kudva, a nonwhite Indian male and a senior executive

employed by Franklin Templeton. APP. 16 (Compl. ¶¶28-29). Mr. Kudva

was given a massive fine and a one-year market ban by the Securities

and Exchange Board of India for using non-public information to sell

approximately $4,000,000 in Franklin Templeton debt funds which were

then closed weeks later. APP. 16 (Compl. ¶30).

     During the July 15, 2021 interview, Ms. Johnson again implied

that the Defendants possessed information about the Plaintiff which the

public did not have: “[w]e felt and we feel confident in the due diligence




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we did and the process to make our evaluations, our decision.” (emphasis

added) APP. 16 (Compl. ¶32).

   Ms. Johnson made clear that the company does not believe it is

appropriate to rely on social media to make personnel decisions in high-

profile cases involving Franklin Templeton employees, and that they did

not do so in the case of Mr. Kudva:

           “[t]he world has gotten to the point where social
           media comes to very quick decisions without all
           the facts…and I had this conversation with some
           employees over an issue recently and my comment
           to those employees was, here’s why social media
           doesn’t have the facts right on this particular
           situation, and here is why we’re going to stand by
           and I am going to stand by our decision. Because
           you want to work for a company where the firm
           has your back. That if people don’t get the facts
           right, the company isn’t just going to throw you
           under the bus.” APP. 16, 24 (Compl. ¶33; ¶¶75-81).


     The Defendants’ only communication with Plaintiff about the May

25, 2020 incident in Central Park involving the Plaintiff occurred that

same night while they knew the Plaintiff was profoundly distraught and

fearful of her physical safety. APP. 17 (Compl. ¶¶36-37). The Defendants

performed no investigation into the May 25, 2020 incident in Central

Park involving Plaintiff other than read social media -- the precise


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opposite of what Ms. Johnson revealed the company’s protocol to be in

high profile situations, and contrary to their handling of Mr. Kudva’s

matter. See APP. 17, 26-27 (Compl. ¶35, ¶¶96-103). Not only did the

Defendants not rely on social media to determine whether or not it

would discipline Vivek Kudva, the Defendants have been outspoken

about the peril of relying on social media in its public defense of Vivek

Kudva. See APP. 16-17 (Compl. ¶¶33-34).

      In another high-profile matter, the Defendants allowed Chuck

Johnson to join the Franklin Resources’ board of directors in 2013, a

position he held until February 2020, despite reports that he was a

convicted of “slamm(ing) his wife into a kitchen stove hard enough to

break the bones of her face.” APP. 27-28 (Compl. ¶¶104-108). Another

male employee, C.K.,1 has been employed by the Defendants since at

least 2007, despite multiple instances and complaints of sexual

harassment and corporate wrongdoing. APP. 28-29 (Compl. ¶¶109-118).

When the Plaintiff complained about C.K., nothing was done, and she

was told to “keep it quiet.” APP. 29 (Compl. ¶119).


1“C.K.” was identified as such in the Complaint as a courtesy to protect his identity
because his name, unlike the other two comparators, was not previously in the news.
A letter was sent to Defendants’ counsel by Plaintiff’s counsel explaining this, and
providing C.K.’s full name, on September 27, 2021.
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     Beginning May 25, 2020, the Plaintiff’s life was destroyed as she

was inundated with some of the most vile race and gender-based text

messages, emails, and telephone calls imaginable. APP. 30-31 (Compl.

¶¶129-138). A representative text message sent to the Plaintiff’s

personal cell phone said: “You racist cunt bitch. Fuck that dog too, stupid

bitch. You all over social media lying on a black man. Stupid typical

white bitch.” APP. 31 (Compl. ¶137). The Plaintiff received dozens of

other text messages, emails, and telephone messages like this one. APP.

31 (Compl. ¶138). The Plaintiff was so distraught that she contemplated

suicide. APP. 31 (Compl. ¶139).



                                     C.

                          Proceedings Below

    The Amended Complaint was filed on September 22, 2021, in the

United States District Court for the Southern District of New York.

APP. 11-47. In Count One, the Plaintiff asserts a claim for race

discrimination in violation of § 1981. APP. 33. In Count Two, the

Plaintiff asserts a claim for race and gender discrimination under the

New York State Human Rights Law. APP. 33-34. In Count Three, the


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Plaintiff asserts a claim for race and gender discrimination under the

New York City Human Rights Law. APP. 34-35. In Count Four, the

Plaintiff asserts a claim for defamation under New York State common

law. APP. 35-37. In Count Five, the Plaintiff asserts a claim for

defamation per se under New York State common law. APP. 37-38. The

Plaintiff purposefully did not oppose the Defendants’ Motion to Dismiss

with regard to Counts Six and Seven2; these Counts were properly

dismissed by the District Court.

    The Defendants filed a Rule 12(b)(6) Motion to Dismiss in lieu of an

Answer on October 6, 2021. No discovery took place prior to the Motion

to Dismiss pursuant to the Court Order filed on August 20, 2021

adjourning “all discovery and scheduling obligations…until after the

Court’s decision on Defendants’ Motion to Dismiss.”

    Oral argument on the Motion to Dismiss was held in-person on

September 14, 2022. APP. 8 (Docket Entry 40). The District Court issued

its decision on September 21, 2022, granting the Defendants’ motion and




2 As stated explicitly in the Plaintiff’s memorandum of law opposition to the
Defendants’ Motion to Dismiss, the sections addressing Defendants’ argument on
Counts Six and Seven were “unopposed and intentionally left blank by the Plaintiff.”
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dismissing the Plaintiff’s Complaint in its entirety. APP. 51-67. Plaintiff

filed her Notice of Appeal on October 21, 2022. APP. 68.

                       STANDARD OF REVIEW

    The Court of Appeals “review(s) de novo the district court’s judgment

granting Defendants’ motion to dismiss.” Stratte-McClure v. Morgan

Stanley, 776 F.3d 94, 99-100 (2d Cir. 2015) citing Absolute Activist

Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 65 (2d Cir. 2012). The

operative standard at the motion to dismiss stage is, accepting the

Plaintiff’s allegations as true, plausibility of the Plaintiff’s claim for

relief. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(“To survive a

motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim for relief that is plausible on its face.”)

    “Dismissal of a complaint pursuant to Rule 12(b)(6) for failure to

state a claim on which relief can be granted is not warranted ‘unless it

appears beyond doubt that the plaintiff can prove no set of facts in

support of his claim which would entitle him to relief.’” Sims v. Artuz,

230 F.3d 14, 20 (2d Cir. 2000) quoting Conley v. Gibson, 355 U.S. 41, 45-

46 (1957). “When a federal court review the sufficiency of a complaint,

before the reception of any evidence either by affidavit or admissions, its


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task is necessarily a limited one. The issue is not whether a plaintiff will

ultimately prevail but whether the claimant is entitled to offer evidence

to support the claims.” Sims at 20. “Indeed it may appear on the face of

the pleading that a recovery is very remote and unlikely but that is not

the test.” Ibid. quoting Chance v. Armstrong, 143 F.3d 698, 701 (2d Cir.

1998).




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                         LEGAL ARGUMENT

                                     A.

 The Defendants’ Statements are Textbook Actionable Mixed
Opinion Because They Imply a Basis in Undisclosed Facts to the
                    Reasonable Reader


     The Defendants committed actionable defamation against Ms.

Cooper by implying they determined her to be a racist based upon an

investigation which revealed facts undisclosed to its audience, even

though Defendants knew no such investigation ever took place and that

they possessed no such facts.

     It is true that without more, calling someone a “racist” is typically

nonactionable opinion. But Ms. Cooper’s claim is so much more than that

she was called a racist by the Defendants when she was not. Ms. Cooper’s

claim is that the Defendants conveyed to the public that they determined

she was a racist based on an investigation and review which they never

actually performed, and that they held superior facts which they never

actually had. It is not just the Defendants’ conclusion -- it is their



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implication that the conclusion was grounded in undisclosed and superior

knowledge that makes their statements actionable as mixed opinion.

     The key inquiry is the reasonable reader’s understanding of the

Defendants’ statements, as read or heard within the statements’

complete context. “[T]he court should look to the over-all context in which

the assertions were made and determine on that basis ‘whether the

reasonable reader would have believed that the challenged statements

were conveying facts about the libel plaintiff.’” Brian v. Richardson, 87

N.Y. 2d 46, 51 (1995) quoting Immuno AG v. Moor-Jankowski, 77 N.Y.2d

235, 254 (1991).

     To keep its statements “pure opinion,” “the statement must either

include a ‘recitation of the facts upon which it is based,’ or at least ‘not

imply that it is based upon undisclosed facts.’” Hassan v. Dr. Kenneth

Spicer, 2006 WL 228958, at *5 (E.D.N.Y. Jan. 31, 2006). The Court

continued: “otherwise, the statement will be deemed a ‘mixed opinion,’

which is actionable based on ‘the implication that the speaker knows

certain facts, unknown to his audience, which support his opinion and

are detrimental to the person about whom he is speaking.” Ibid.




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     “Where the author of a derogatory statement of opinion implies that

it is based on facts not disclosed to his audience, a claim for defamation

may be premised on this implied factual assertion.” Chiavarelli v.

Williams, 681 N.Y.S.2d 276, 277 (1st Dep’t 1998). At the Motion to

Dismiss stage, “[i]f, upon any reasonable view of the stated facts, plaintiff

would be entitled to recovery for defamation, the complaint must be

deemed to sufficiently state a cause of action.” Silsdorf v. Levine, 59 N.Y.

2d 8, 12 (1983); see also Smith v. Long Island Youth Guidance, Inc., 181

A.D.2d 820, 821 (2d Dept.1992)(“Whether the text quoted above is likely

to be understood by the ordinary reader as defamatory…in light of all the

other circumstances of the case, is a question of fact for the jury.”)

     Three factors guide the Court’s analysis: “(1) whether the specific

language in issue has a precise meaning which is readily understood; (2)

whether the statements are capable of being proven true or false; and (3)

whether either the full context of the communication in which the

statement appears or the broader social context and surrounding

circumstances are such as to signal readers or listeners that what is being

read or heard is likely to be opinion.” Cummings v. City of New York,

2020 WL 882335, at *20 (S.D.N.Y. Feb. 24, 2020). “It is the last of these


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factors that lends both depth and difficulty to the analysis.” Brian at 51.

“[T]he identity, role and reputation of the author may be factors to the

extent that they provide the reader with clues as to the article's import.”

Id. at 52.

      In Afftrex, Ltd. V. General Electric Co., 161 A.D.2d 855 (3d Dep’t

1990), for example, the Court applied this principle to find an actionable

claim for defamation where defendant called plaintiff “an evil man” and

therefore “was fired from his job.” Id. at 905. The Court explained that

what would otherwise have been protected speech as pure opinion was

converted to actionable mixed opinion because “an opinion which implies

a justifiable basis in facts unknown to the listener may formulate

grounds for a defamation cause of action.” Id. at 855-56. The Court

further explained: “‘[t]he actionable element of a ‘mixed opinion’ is not

the false opinion itself -- it is the implication that the speaker knows

certain facts, unknown to his audience, which support his opinion and

are detrimental to the person about whom he is speaking.’” Id. 856

quoting Steinhilber v. Alphonse, 68 NY2d 283, 290 (1986). Accordingly,

the Court held that the Defendants’ statement that Plaintiff “‘is also an

evil man’ and therefore ‘was fired from his job’ sufficiently implies that


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his discharge from employment was for misconduct such as to be

susceptible to a defamatory interpretation.” Afftrex, Ltd. at 856 citing

Nichols v. Item Publishers, 309 NY 596 (1956). Stated another way, “the

inextricable nexus in (Defendants’) statement between (Plaintiff’s)

evilness and the loss of his job logically leads the listener to the

conclusion that (Plaintiff) was fired because he was evil; his evilness in

some way affecting his performance at (his job.)” Afftrex, Ltd. at 856.

     In Brian, the Court declined to find actionable mixed opinion in only

after finding numerous factors in favor of the Defendant. Brian v.

Richardson, 87 N.Y. 2d 46 (1995). Among the factors considered by the

Court in Brian was that the statement’s author “disclosed that he had

been (an adverse party’s) attorney, thereby signaling that he was not a

disinterested observer.” Id. at 53. Another was that the article was

published in the Opinions section of the newspaper, further signaling to

the reader that this was an expression of opinion. Yet another was that

“the predominant tone of the article, which was rife with rumor,

speculation and seemingly tenuous inferences, furnished clues to the

reasonable reader that (the article) was something less than serious,

objective reportage.” Ibid. Finally, the author of the challenged work “set


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out the basis for (his) personal opinion, leaving it to the readers to

evaluate it for themselves.” Id. at 53-54. “Thus, there was no suggestion

in the article that there were additional undisclosed facts on which its

credibility assessment had been based.” It was only after consideration

of these factors leading to the determination that the reasonable reader

would not have believed that the defendant was conveying facts, that the

Court dismiss the plaintiff’s defamation claim.

     The Court of Appeals summarized:

           In sum, both the immediate context of the article
           itself and the broader context in which the article
           was published made it sufficiently apparent to the
           reasonable reader that its contents represented
           the opinion of the author and that its specific
           charges about plaintiff were allegations and not
           demonstrable fact. Id. at 54.

     The Court’s Opinion in Brian relied heavily on its contrast of the

facts in Gross v. New York Times Co., 82 N.Y.2d 146, 153 (1993). Brian

at 52. In Gross, the Court of Appeals reversed the Appellate Division’s

order dismissing the plaintiff’s defamation causes of action based on a

series of factors, including “what purported to be a thorough

investigation.” Gross at 156.




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     Conveyance by a defendant to the reader that an investigation was

performed and produced facts unknown to the public is a dispositive

distinction between actionable mixed opinion and protected pure opinion.

Once the defendant has implied that an investigation was performed, it

converts an otherwise nonactionable opinion into an actionable

defamation claim because it “‘encourage(s) the reasonable reader to be

less skeptical and more willing to conclude that they stated or implied

facts.” Gross at 156 quoting 600 W. 115th St. Corp. v. Von Gutfeld, 80

NY2d 130, 142 (1992).

      “The dispositive inquiry, under either Federal or New York law, is

‘whether a reasonable reader could have concluded that (the statement

was) conveying facts about the plaintiff.’” Gross at 152 quoting 600 W.

115th St. Corp. at 139.

     There is a critical distinction under New York law between

statements of opinion which imply a basis in undisclosed facts, and

statements of opinion which either recite the facts upon which that

opinion was formed or do not imply the existence of such undisclosed

underlying facts at all. See Gross at 153 (“[I]n determining whether a

particular communication is actionable, we continue to recognize and


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utilize the important distinction between a statement of opinion that

implies a basis in facts which are not disclosed to the reader or listener,

and a statement of opinion that is accompanied by a recitation of the facts

on which it is based or one that does not imply the existence of

undisclosed underlying facts.”) (internal citations omitted). Statements

of opinion which imply a basis in undisclosed facts are actionable; only

the latter category is not.

     The reason for this distinction is “because a reasonable listener or

reader would infer that ‘the speaker or writer knows certain facts,

unknown to the audience, which support the opinion and are detrimental

to the person toward whom the communication is directed.’” Gross at 153

quoting Steinhilber v. Alphonse, 68 N.Y.2d 283, 290 (1986). A full

disclosure of the facts on which an opinion is based, on the other hand,

lets the reader know that it is reading the author’s opinion or conjecture.

See Gross at 154 (“In contrast, the latter are not objectionable because…a

proffered hypothesis that is offered after a full recitation of the facts on

which it is based is readily understood by the audience as conjecture.”)

     “‘When, however the statement of opinion implies that it is based

upon facts which justify the opinion but are unknown to those reading or


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hearing it, it is a ‘mixed opinion’ and is actionable.’” Doe #1 v. Syracuse

University, 468 F. Supp. 3d 489 (N.D.N.Y. 2020) quoting Steinhilber at

289.

       The test is not the word or words themselves, but whether a

reasonable reader would interpret those words to be an assertion of

provable fact. “[T]he courts are obliged to consider the communication as

a whole, as well as its immediate and broader social contexts, to

determine whether the reasonable listener or reader is likely to

understand the remark as an assertion of provable fact.” Gross at 155.

       The instant matter is a textbook actionable “mixed opinion” case.

The Defendants could have refrained from implying it had additional

facts, or could have disclosed what investigation in actually performed or

the facts it actually had, but they did neither of those things. Defendants

boasted to the world that Ms. Cooper was terminated after

“investigation,” “internal review,” review of “undisputed facts” and “due

diligence” determined her to be a racist, but Defendants did none of these

things -- there was no investigation, internal review, review of any facts

or due diligence by the Defendants. Especially when the speaker is an

entity with the imprimatur of Franklin Templeton, the Defendants’


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statements implied superior knowledge and are classic mixed opinion

subject to liability for defamation.

     Moreover, the Plaintiff’s allegations that Defendants performed no

investigation, no internal review, did not hold undisputed facts, and

performed no due diligence was undisputed by the Defendants.

Defendants entered no admissible evidence in support of its Motion to

Dismiss to show it had done any of these things.

     The only “evidence” upon which the Defendants relied was a

Declaration in Support by counsel that an internet search performed by

counsel on October 6, 2021 during preparation of its motion turned up a

series of articles and other media. The results of counsel’s Google search

performed almost a year and a half after the alleged “investigation,”

“internal review,” “undisputed facts,” and “due diligence” of the

Defendants is wholly meaningless, and should not have been permitted

to support its Motion to Dismiss. That counsel found items on the

internet which it believes support the propriety of Defendants’ mixed

opinion statements are irrelevant and immaterial without any evidence

about whether or how those items were actually used by Defendants. See

Dejana Indus. v. Vill. of Manorhaven, 2015 WL 1275474, *6 (E.D.N.Y.


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Mar. 18, 2015)(“Federal Rule of Civil Procedure 56(d) states that ‘an

affidavit or declaration used to support or oppose a motion must be made

on personal knowledge, set out facts that would be admissible in

evidence, and show that the affiant or declarant is competent to testify

on the matters stated.’”) quoting Fed. R. Civ. P. 56 (c)(4); see also Little

v. City of New York, 487 F.Supp. 2d 426, 438 (S.D.N.Y. 2007)(“[A]n

attorney’s affirmation that is not based on personal knowledge of the

relevant facts is to be accorded no weight on a motion for summary

judgment.”) While counsel may have personal knowledge of the results of

its own Google search performed on 10/6/21, such a search should not

have been admissible evidence on the issue of the Defendants’

investigation back in May 2020 when Ms. Cooper was terminated and

defamed through publication of Defendants’ mixed opinion.

                                     B.

     Even if Arguendo Subject to the Heightened Standard,
       Defendants’ Statements Constitute Actual Malice


     The defamation alleged in this litigation was not lawful conduct; it

was the declaration of an employee’s unlawful termination in violation of

the NYCHRL, NYSHRL, and § 1981. The Defendants have no right or


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legitimate First Amendment interest in broadcasting and attempting to

benefit from its own unlawful conduct.

     The Plaintiff has never alleged that the Defendants could or should

not have spoken out against racial injustice, or that these statements

were defamatory. But the presence of these non-defamatory statements

in the same communications as the statements defaming Plaintiff should

not cloak the defamatory statements with protection as “lawful conduct.”

     It would be a perverse use of § 76-a to invoke a heightened standard

for the proclamation of an unlawful act by a commercial entity as “lawful

conduct.”

     Even if held to the higher standard, the Plaintiff’s allegations far

surpass the threshold for actual malice. Actual malice here only requires

the Plaintiff to demonstrate that Defendant published statements that

they had conducted an investigation, performed an internal review,

uncovered undisputed facts, and performed its due diligence to determine

she was racist, when they knew they had not conducted any such analysis

and held no such facts.

     The same Iqbal and Twombly standard of plausibility which

governs the discrimination sections of this brief apply to defamation. See


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Brimelow v. New York Times Co., 2021 WL 4901969, at *4 (2d Cir. Oct.

21, 2021)(joining “every circuit that has considered the matter…” to “hold

that the plausibility pleading standard applies to the actual malice

standard in defamation proceedings”). To survive a 12(b)(6) motion to

dismiss, a plaintiff “‘must plead plausible grounds to infer actual malice

by alleging enough fact(s) to raise a reasonable expectation that discovery

will reveal evidence of actual malice.’” Brimelow v. New York Times Co.,

2021 WL 4901969, at *3 (2d Cir. Oct. 21, 2021) quoting Biro v. Conde

Nast, 807 F.3d 541, 546 (2d Cir. 2015). A successful plaintiff may plead

actual malice generally. Brimelow at *3-4 (“‘Actual malice is not a matter

that requires particularity in pleading -- like other states of mind, it may

be alleged generally...’”) quoting Michel v. NYP Holdings, Inc., 816 F.3d

686, 702 (11th Cir. 2016).

     Actual malice is a significant hurdle, but is “by no means

insurmountable.” Biro at 545 (“The hurdles to plausibly pleading actual

malice, though significant given the First Amendment interests at stake,

are by no means insurmountable.”) citing Robert D. Sack, Sack on

Defamation § 16:2.2 at 16.7-8 (4th ed. 2010). “In practice, requiring that

actual malice be plausibly alleged has not doomed defamation cases


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against public figures. To the contrary, district courts in and out of our

Circuit have inferred actual malice at the pleading stage from allegations

that referred to the nature and circumstances of the alleged defamation

or previous dealings with the defendant.” Biro at 545-546.

     Though actual malice is subjective, the Court will typically infer

actual malice from objective facts pled in the Complaint because “a

defendant in a defamation action will rarely admit that he published the

relevant statements with actual malice.” Biro at 545 citing Celle v.

Filipino Reporter Entertainers, Inc., 209 F.3d 163, 183 (2d Cir. 2000).

The Second Circuit explained:

           And of course whether actual malice can plausibly
           be inferred will depend on the facts and
           circumstances of each case. For example, a
           plaintiff may allege that "a story [was] fabricated
           by the defendant" if the defendant provides no
           source for the allegedly defamatory statements or
           if the purported source denies giving the
           information. Biro at 545 citing St. Amant v.
           Thompson, 390 U.S. 727, 732 (1968).


     Instances where actual malice has been found to be lacking include

Complaints that merely allege failure to properly investigate claims

contained in a published statement, failure to utilize sufficient fact-

checkers, or facts suggesting that a defendant “had reason to question

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the   accuracy   of   the   information    at   issue."   See   Harte-Hanks

Communications, Inc. v. Connaughton, 491 U.S. 657 (1989)(well settled

that “failure to investigate will not alone support a finding of actual

malice”); Kipper v. NYP Holdings, Co., 12 NY3d 348, 355 (2009)(“failure

to employ fact-checkers, to attempt to verify the status of his license prior

to publication, or to identify those individuals responsible for the false

headline and statement” insufficient); Rivera v. Time Warner, Inc., 56

AD3d 298, 298 (1st Dept. 2008)(“actual malice cannot be inferred from

factual allegations merely suggesting that [defendant] had reason to

question the accuracy of the information at issue.”)

      In the instant matter, the Plaintiff alleges that the Defendants

published statements that they had performed an investigation,

conducted an internal review, held undisputed facts, and performed its

due diligence when they knew no such analysis had been performed. This

was not a failure of research or diligence, this was a blatant and knowing

deception.

                                     C.

 The Plaintiff’s Allegations of Employment Discrimination far
 Exceed the Plausibility Threshold Required to Survive a Rule
                         12(b)(6) Motion


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     The quantity, substance, and specificity of the allegations contained

in the Plaintiff’s 139 paragraphs of Factual Background in the Amended

Complaint far exceed those required to overcome Rule 12(b)(6) dismissal.

The Defendants’ claims of implausibility are really disputes of fact

properly decided by a jury after the conclusion of discovery.

     “A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct charged.” Ashcroft v. Iqubal, 556

U.S. 662, 678 (2009). At the motion to dismiss stage, the factual content

alleged by the Complaint to reach the facial plausibility threshold must

be accepted as true, and is entitled to all reasonable inferences. See ATSI

Communications, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir. 2007).

Stated another way, it is the plaintiff’s obligation to merely “nudge[] its

claims across the line from conceivable to plausible…” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). At this stage, a plaintiff need only

show “plausible support to a minimal inference of discriminatory

motivation.” Littlejohn v. City of New York, 795 F. 3d 297, 311 (2d Cir.

2015). The complaint is not required to contain “detailed factual

allegations” to overcome a motion made under Rule 12(b)(6). Minto v.


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Molloy College, 2019 WL 4696287, at *5 (E.D.N.Y. Sept. 26, 2019) quoting

Iqubal at 678 (“A complaint need not contain detailed factual allegations,

but must contain more than mere ‘labels and conclusions’ or a ‘formulaic

recitation of the elements of a cause of action’ or ‘naked assertions’ devoid

of ‘further factual enhancement.’”)



            The New York City Human Rights Law Standard

     The NYCHRL was amended with the explicit objective of being

interpreted more liberally than its state and federal counterparts:

           To bring about this change in the law, the Act
           established two new rules of construction. First, it
           created a “one-way ratchet,” by which
           interpretations of state and federal civil rights
           statutes can serve only “‘as a floor below which the
           City's Human Rights law cannot fall.’”

           Second, it amended the NYCHRL to require that
           its provisions “be construed liberally for the
           accomplishment of the uniquely broad and
           remedial purposes thereof, regardless of whether
           federal or New York State civil and human rights
           laws, including those laws with provisions
           comparably-worded to provisions of this title[,]
           have been so construed.” Mihalik v. Credit
           Agricole Cheuvreux N. Am., Inc., 715 F.3d 102,
           109 (2d Cir. 2013)(internal citations omitted).




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     Claims brought under the NYCHRL are analyzed separately, and

under a liberal standard. See Gorokhovsky v. New York City Housing

Authority, 552 Fed. Appx. 100, 101 (2d Cir. 2014)(“claims under the

NYCHRL are to be evaluated separately from federal and state law

claims and given liberal, independent construction.”) citing Mihalik v.

Credit Agricole Cheuvreux N. Am., Inc., 715 F.3d 102, 109 (2d Cir. 2013).

“The NYCHRL must be construed ‘broadly in favor of discrimination

plaintiffs, to the extent that such a construction is reasonably possible.’”

Syeed v. Bloomberg, L.P., 2021 WL 4952486, *39 (S.D.N.Y. Oct. 25, 2021)

quoting Nguedi v. Fed. Rsrv. Bank of New York, 2019 WL 1083966, at

*10 (S.D.N.Y. Mar. 7, 2019).

     Under the NYCHRL, the Plaintiff must show only that she was

treated “less well” than others outside her protected characteristic, and

that discrimination was among her employer’s motivating factors for

unequal treatment. See Syeed at *40 (“‘[Plaintiff] must show that she has

been treated less well at least in part 'because of her protected

characteristic].’” Under the NYCHRL, the plaintiff must allege ‘that

‘unlawful discrimination was one of the motivating factors, even if it was

not the sole motivating factor, for “her unequal treatment.”)(internal


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citations omitted). “‘It is not uncommon for covered entities to have

multiple or mixed motives for their action, and the NYCHRL proscribes

such ‘partial’ discrimination.’” Syeed at *40 quoting Velazco v. Columbus

Citizens Found., 778 F.3d 409, 411 (2d Cir. 2015).

     Even once a case has reached the summary judgment stage, the

NYCHRL has a relaxed standard for pretext. "[S]ome evidence that at

least one of the reasons proffered by [the] defendant is false, misleading

or incomplete ... should in almost every case indicate to the court that a

motion for summary judgment should be denied." Bennett v. Health

Mgmt. Inc., 92 A.D.3d 29, 45 (N.Y. App. Div. lst Dept 2011). The standard

is of course even more liberal at the motion to dismiss stage. See

Gorokhovsky at 102 (“At the pleadings stage and under such a liberal

construction, we conclude that [plaintiff] has stated plausible claims

under the NYCHRL for discrimination on the basis of national origin and

age.”)

     In the instant matter, there can be no question but that the Plaintiff

was treated less well than her male counterparts who received no

discipline after allegations and/or convictions for sexual harassment,

domestic battery, corporate misconduct, and fraud. The Plaintiff’s


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outcome was not the only “less well” treatment she received; the

Defendants broke with their own protocol, faithfully adhered to in the

matter involving Vivek Kudva, a nonwhite male, and terminated the

Plaintiff without any investigation other than a rapid perusal of social

media. The reasons provided for the disparity of treatment between the

Plaintiff and her three male, and in the case of Mr. Kudva, non-white,

counterparts remain, at the very least, incomplete.



       Inference of the Essential Elements of a Prima Facie Case

     Courts apply the McDonell Douglas framework to §1981 and New

York State Human Rights Law claims. See Molloy College at *20 citing

Littlejohn at 312; Weinstock v. Columbia Univ., 224 F.3d 33, 42 n.1 (2d.

Cir. 2000). A prima facie showing is not required at the motion to dismiss

stage; only “plausible support to a minimal inference of discriminatory

motivation.” Molloy College at *22-23 citing Vega v. Hempstead Union

Free School Dist., 801 F.3d 72, 84 (2d Cir. 2015) additional internal

citations omitted. At the motion to dismiss stage, “plaintiffs must simply

allege facts that allow the court, in substance, to infer the essential

elements of a prima facie case.” Molloy College at *23 citing Barrett v.


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Forest Labs., Inc., 39 F. Supp. 3d 407, 429 (S.D.N.Y. 2014) (emphasis in

original).

      While discriminatory remarks or invidious comments about the

plaintiff’s race or gender is one way to achieve the required minimal

inference, so is more favorable treatment of an employee outside the

protected class, or the sequence of events leading to termination. See

Littlejohn at 312 quoting Leibowitz v. Cornell Univ., 584 F. 3d 487, 502

(2d Cir. 2009)(“‘An inference of discrimination can arise from

circumstances including, but not limited to, the employer's criticism of

the plaintiff's performance in ethnically degrading terms; or its invidious

comments about others in the employee's protected group; or the more

favorable treatment of employees not in the protected group; or the

sequence of events leading to the plaintiff's discharge.’”)

      Discriminatory intent can be inferred through facts alleging that

persons outside of the plaintiff’s protected class “‘were given preferential

treatment.’” Molloy College at *23 quoting Patane v. Clark, 508 F.3d 106,

112 (2d Cir. 2007). Inference of discriminatory intent is gathered by the

Court through an “expansive approach” which “‘must rely on the

cumulative weight of circumstantial evidence.’” Molloy College at *23


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quoting Wong v. Yoo, 649 F. Supp. 2d 34, 69 (E.D.N.Y. 2009) quoting

Norton v. Sam’s Club, 145 F.3d 114, 119 (2d Cir. 1998).

     It is not uncommon for a Plaintiff in an employment discrimination

claim to be without a “smoking gun.” Ibid. Moreover, the Court must not

abandon its common sense when analyzing the complaint. AJ Energy

LLC v. Woori Bank, 829 Fed. Appx. 533, 534 (2d Cir. 2020)(“A district

court, however, need not credit conclusory allegations, nor suspend

common sense when analyzing the complaint.”)(internal citations

omitted).

     Independent and in addition to the disparate treatment between

the Plaintiff and her nonwhite and male counterparts, the Defendants’

own words and actions provide the required plausible support for a

minimal inference of discriminatory motivation. It was the Defendants

who implicated the race of their employee with each of its

communications to the public, by repeatedly connecting its stated stance

against racism with their termination of the Plaintiff.

     That the Plaintiff would not have been terminated without an

investigation but-for her race is plain, because the Defendants simply

could not have touted the termination of a nonwhite employee the way


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they did with Ms. Cooper. The Defendants’ widespread and multiple

advertisements of their termination of Ms. Cooper, all published in

conjunction with their purported stance on racism, implicates race

sufficiently to overcome a 12(b)(6) motion to dismiss.



                          Comparator Evidence

     One way a plaintiff may raise an inference of discriminatory intent

is by showing that she was treated less favorably than similarly situated

employees outside of her protected group. See Graham v. Long Island

R.R., 230 F.3d 34, 39 (2d Cir. 2000).

     Issues regarding the appropriateness of a comparator are typically

addressed at the summary judgment stage, only after the parties have

had an opportunity to conduct discovery. See Molloy College at *23 citing

De La Peña v. Metro. Life Ins. Co., 953 F. Supp. 2d 393, 414 (E.D.N.Y.

2013), aff'd, 552 F. App'x 98 (2d Cir. 2014)(“Though ‘[i]ssues regarding

appropriate comparators are often addressed in the context of a summary

judgment motion following discovery,’ courts have granted motions to

dismiss where the complaint failed to proffer sufficient facts regarding




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comparators to support the contention the comparators were similarly

situated to the plaintiffs.”)

      A comparator need only be similarly situated to a plaintiff in

material respects. Irrespective of job titles or responsibilities, a plaintiff

is properly compared to another employee when those differences are

inconsequential to a plaintiff’s claims. See Chen-Oster v. Goldman, Sachs

& Co., 2019 WL 3294145, at *7-8 (S.D.N.Y. June 7, 2019) (“[T]he standard

for comparators is rather stringent: though a comparator and plaintiff

need not be identical, a comparator must be ‘similarly situated to the

plaintiff in all material respects.”)

      What constitutes “all material respects” is case and fact-specific.

See Novick v. Village of Wappingers Falls, 376 F. Supp. 3d 318, 343

(S.D.N.Y. 2019) quoting Taylor v. Seamen's Soc'y for Children, 2013 WL

6633166, at *14 (S.D.N.Y. Dec. 17, 2013)(“‘What constitutes ‘all material

respects’ varies, of course, from case to case…”) The determinative factor

is that the plaintiff and her comparator are “subject to the same

workplace standards.” Ibid.

      “A comparator is similarly situated when there is an ‘objectively

identifiable basis for comparability,’ meaning that the comparator and


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the plaintiff were subject to the same workplace standards and engaged

in misconduct of ‘comparable seriousness,’ but received different

punishments.” Joye v. PSCH, Inc., 2016 WL 6952252, *18 (S.D.N.Y. Nov.

28, 2016) quoting Graham v. Long Island R.R., 230 F.3d 34, 40 (2d Cir.

2000).

     A plaintiff demonstrates that she is similarly situated “in all

material respects” upon a showing “‘that similarly situated employees

who went undisciplined engaged in comparable conduct.’” Novick at 343

quoting Graham v. Long Island R.R., 230 F.3d 34, 40 (2d Cir. 2000).

         “[W]here a plaintiff seeks to establish the minimal prima facie

case by making reference to the disparate treatment of other employees,

those employees must have a situation sufficiently similar to [the]

plaintiff's to support at least a minimal inference that the difference of

treatment may be attributable to discrimination.” McGuinness v. Lincoln

Hall, 263 F.3d 49, 54 (2d Cir. 2001).

     While the three comparators here did not hold identical positions to

the Plaintiff, that is not what is required. The comparators need only be

similar in material respects -- in this instance, the only material respect

is that they were subject to the same workplace standards for the alleged


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conduct at issue. This is not a case where the Plaintiff claims she was

entitled to a higher salary or swifter promotion, where comparisons

between different levels of employees would be significant. The nuance

which might implicate differences between the Plaintiff and her three co-

workers is absent here; the Plaintiff is challenging a company-wide

double standard between males who receive no scrutiny or discipline for

alleged wrongdoing, and a female who instantly received the ultimate

punishment.

     The Defendant Jenny Johnson herself compared the Plaintiff and

Vivek Kudva, because she found their similarities to be particularly apt.

As with the Plaintiff, the alleged wrongdoing of Mr. Kudva and Chuck

Johnson were public and high-profile. But unlike the Plaintiff, the

Defendants ignored these high-profile alleged wrongdoings, explaining

that “[t]he world has gotten to the point where social media comes to very

quick decisions without all the facts.” The application of the principle to

the male employees of the Defendants but not to the Plaintiff makes them

plausible comparators in all material respects.




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                             CONCLUSION

      For the reasons set forth above, the Plaintiff-appellant requests

that this Court issue an order (i) reversing the District Court’s Decision

and Order entered on September 21, 2022 which granted Defendants’

Motion to Dismiss, and (ii) remanding to the District Court for further

proceedings consistent with this Court’s order of reversal.




Dated: December 19, 2022

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Respectfully submitted,



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